Case 2:04-cr-20491-SH|\/| Document 32 Filed 08/23/05 Page 1 of 2 Page|D 51

 

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UNITED sTATEs oF AMERICA, W)T? 3 iiEi€PH:S

\/'S. NO. O4-20491-Ma
REGINAL D. SIMS,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant's August 19, 2005, motion
to reset the sentencing of Reginal D. Sims, which is presently
set for August 22, 2005. For good cause shown, the motion is

granted. The sentencing of defendant Reginal D. Sims is reset to
Wednesday, September 21, 2005, at 1:30 p.m.

It is so ORDERED this '¥L‘&day of August, 2005.

j////‘wz_.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20491 Was distributed by faX, mail, or direct printing on
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Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

